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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA                             )
                                                     )
vs.                                                  )       CRIMINAL NO. 05-00266-WS
                                                     )
JASON WATSON,                                        )
                                                     )
                Defendant.                           )

                                                 ORDER
        This matter is before the Court on the defendant’s motion to sever. (Doc. 140). The
government has filed a response, (Doc. 157), and the defendant has elected to file no reply. (Doc.
149). After carefully considering the foregoing materials, the Court concludes that the motion to sever
is due to be denied.
        The defendant is named in Counts One, Twenty-One, and Twenty-Two of the 24-count
indictment. Count One charges the defendant, along with each of his co-defendants, with conspiring
with intent to distribute powder cocaine and crack cocaine. (Doc. 1 at 1-2). Counts Twenty-One and
Twenty-Two charge the defendant with possession with intent to distribute crack cocaine. (Id. at 11-
12). The remaining counts charge various other defendants with possession with intent to distribute
powder cocaine and/or crack cocaine. The defendant’s perfunctory, one-sentence motion argues that
the substantive counts against his co-defendants “involve activity that was not ... part of the same
common scheme or plan as the activity involved in the remaining counts.” (Doc. 140).
        The defendant’s motion contains no legal citation, but the quoted language tracks Federal Rule
of Criminal Procedure 8(a), which states that “[t]he indictment or information may charge a defendant in
separate counts with 2 or more offenses if the offenses charged ... are connected with or constitute
parts of a common scheme or plan.” Because the defendant is not in fact challenging the joinder of
charges against him but the joinder of charges against him with those against other defendants, the
Court concludes that he is attempting to invoke Rule 8(b). That rule provides that “[t]he indictment or
information may charge 2 or more defendants if they are alleged to have participated in the same act or
transaction, or in the same series of acts or transactions, constituting an offense or offenses.” Fed. R.
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Crim. P. 8(b).
        “Rule 8 is broadly construed in favor of the initial joinder. ... The question of whether initial
joinder is proper under Rule 8(b) is to be determined before trial by examination by the trial court of the
allegations stated on the face of the indictment.” United States v. Weaver, 905 F.2d 1466, 1476
(11th Cir. 1990)(internal quotes omitted). “[J]oinder of offenses and defendants under Fed. R. Crim. P.
8(b) is proper where, as here, an indictment charges multiple defendants with participation in a single
conspiracy and also charges some but not all of the defendants with substantive counts arising out of the
conspiracy.” United States v. Day, 405 F.3d 1293, 1297 (11th Cir. 2005)(internal quotes omitted).
Because the indictment charges that multiple defendants engaged in a single conspiracy and also
charges various defendants with substantive counts arising out of the conspiracy, joinder is proper
under Rule 8(b). The defendant’s complaint that “the discovery materials provided by the
Government” suggest otherwise, (Doc. 240), is simply irrelevant, as the Court’s consideration under
Rule 8 is limited to the terms of the indictment itself.1
        Rule 14 allows severance if joinder “appears to prejudice a defendant.” Fed. R. Crim. P.
14(a). The defendant has neither invoked Rule 14 nor alleged prejudice. Accordingly, he cannot
obtain relief under this rule.


        DONE and ORDERED this 28th day of November, 2005.



                                                            s/ WILLIAM H. STEELE
                                                            UNITED STATES DISTRICT JUDGE




        1
         Based on the government’s brief, the assertion also appears incorrect.

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